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                                           May 9, 2025


VIA ECF

       Re: Objection to Opt Out Procedures, In re Generic Pharmaceuticals Pricing Antitrust
       Litigation, Case No. 2:16-MD-02724 (E.D. Pa.)

Dear Judge Rufe:

        I am writing on behalf of Centene Corporation to formally object, pursuant to Fed. R. Civ.
P. 23, to approval of the settlement based on certain aspects of the opt out procedures in the EPP
Sandoz Settlement. On behalf of my client, after reasonable investigation and on good-faith belief,
I declare under penalty of perjury under the laws of the United States of America that Centene
Corporation, its subsidiaries who have assigned their claims to Centene Corporation, and New
York Quality Healthcare Corporation d/b/a Fidelis Care, who authorized Centene Corporation to
opt out on its behalf, are members of the Settlement Class. This objection is being made on their
behalf, on behalf of any other entity related to Centene that is purportedly covered by the release,
and on behalf of other class members.

        Centene Corporation has properly opted out of the settlement on behalf of itself and all its
subsidiaries. As part of this process, Centene’s subsidiaries assigned their claims related to this
settlement to Centene Corporation. We maintain that no additional requirements can be imposed
without violating Centene’s due process rights, which only requires providing adequate notice. See
In re Linerboard Antitrust Litig., 233 F.R.D. 357 (E.D. Pa. 2004); In re TFT-LCD (Flat Panel)
Antitrust Litig., 37 F. Supp. 3d 1102, 1105-06 (N.D. Cal. 2014). To the extent any conditions are
required to opt out the entities identified by Centene beyond what Centene has performed, Centene
objects to the approval of the settlement as those conditions violate due process and are unfair.

       While we maintain that the procedures for Administrative Services Only (ASO) entities
cannot and do not apply to Centene’s ability to opt out subsidiaries, Centene has followed these
procedures for certain subsidiaries. This compliance should not, however, be construed as consent
to those procedures. Centene objects to these procedures to the extent they are required of any
Centene subsidiary as unnecessary, unfair, and in violation of Centene’s due process rights.

        Centene also objects to any interpretation of the settlement’s broad release provisions that
would affect its claims, as it properly opted out. The release should not be construed to impact
Centene’s or Fidelis Care’s claims based on its association with entities that did not opt out or
assign their claims to Centene. A release cannot extend to entities for whom an entity has no legal
authority to exercise its rights. For instance, the Settlement purports to require class members to
release “their past and present parents, subsidiaries and affiliates … as well as any current and
former officers, directors, employees, attorneys, stockholders, principals, managers, partners,
members, agents, representatives, trustees, insurers and owners thereof.” ECF 3253-2 at 10. But a
subsidiary lacks legal authority to release a past or present parent, a principal, or any affiliated
entity. At minimum, to the extent this release is enforced so broadly as to permit affiliated or
subsidiaries to release parents or vice versa, a parent, like Centene, should be permitted to equally


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broadly opt out all affiliates or subsidiaries without additional requirements. Having validly
exercised their opt-out rights, Centene and Fidelis maintain all their claims regardless of any
relationship with non-opted out entities.

       Provided our opt-out request is accepted in full, and the release is not construed to bar
claims of any entity opting out, Centene recognizes that it will not be a Settlement Class Member
upon entry of final judgment and its objection may be deemed moot.

       Sincerely,



       Norman E. Siegel
       Counsel for Centene Corporation

On behalf of:

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       Executive Vice President, Secretary and General Counsel
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